                    UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                           Case No. 20-cv-954

FARHAD AZIMA,

         Plaintiff,
                                               PLAINTIFF’S RESPONSE TO
    v.                                         DEFENDANTS’ MOTION FOR
                                                 PROTECTIVE ORDER
NICHOLAS DEL ROSSO and VITAL
MANAGEMENT SERVICES, INC.,                           (Filed Under Seal)

         Defendants.




                        CERTIFICATE OF WORD COUNT
         I certify under LR 7.3(d)(1) that the body of this Response, including any

headings and footnotes together, contains fewer than 3,500 words, as reported by the

word count feature in Microsoft Word.



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